                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                        NO: 5:01-CR-276-2-FA(3)
                             5:06-CR-92
UNITED STATES OF AMERICA

v.                                             MEMORANDUM OPINION AND
                                               ORDER
DONALD MORRISON



        Pending before the court are defendant's pro se motions
for dismissal of all criminal charges for violations of the rules
of criminal procedure (docs. # 183 and 185).            Having thoroughly
reviewed the motions, the authorities cited therein, and the
record in this case, the court finds defendant's motions to be
without merit.    Accordingly, the motions are DENIED.
        The Clerk is directed to send copies of this Order to all
counsel of record, the United States Marshal, and the Probation
Office of this court.
        IT IS SO ORDERED this 31st day of October, 2007.
                                 ENTER:



                                  David A. Faber
                                  United States District Judge




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